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                                                             April 3, 2025

    Via ECF

    Hon. J. Paul Oetken
    United States District Judge
    Southern District of New York
    40 Foley Square
    New York, New York 10007

                     Re:   Widakuswara, et al. v. Lake, et al., No. 25 Civ. 2390 (JPO)

    Dear Judge Oetken:

            On behalf of Plaintiffs in the above-referenced action, we write to propose a briefing
    schedule with respect to Plaintiffs’ pending motion for a preliminary injunction and to briefly
    respond to Defendants’ letter filed yesterday, see Dkt. 56, in support of their motion to transfer
    this case to the United States District Court for the District of Columbia.

            Plaintiffs’ proposed preliminary injunction briefing schedule. We conferred with
    counsel for Defendants regarding a proposed briefing schedule for Plaintiffs’ PI motion. Even
    though Defendants have already filed a brief in opposition to Plaintiffs’ combined TRO/PI
    motion, see Dkt. 41, Plaintiffs proposed that, if Defendants wish to file a separate brief in
    opposition to Plaintiffs’ motion for a PI, specifically, their brief would be due by Monday, April
    7, 2025, Plaintiffs would file their reply by Thursday, April 10, 2025, and the Court would hold a
    PI hearing on April 11, 2025, or as soon thereafter as counsel can be heard. Defendants rejected
    Plaintiffs’ briefing schedule and instead proposed that, if the Court denies Defendants’ motion to
    transfer, Defendants would then file their opposition brief 14 days thereafter, and Plaintiffs
    would file their reply 7 days after Defendants’ opposition.

            Plaintiffs respectfully request that the Court adopt Plaintiffs’ PI briefing schedule to
    ensure that Plaintiffs’ irreparable harms are addressed without further delay. As the Court noted
    in its March 28, 2025 TRO Order, Plaintiffs will continue to suffer irreparable harm each day the
    United States Agency for Global Media’s (“USAGM”) broadcasters remain off the air, as many
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of USAGM’s broadcasters’ 425 million listeners “may tune out completely once the air waves
have been silent for long enough, thus defeating the [agency’s] statutorily defined purpose.”
TRO Order, Dkt. 54 at 17-18. And each day without USAGM programming “irreparably harms
RSF correspondents who lack other ways of obtaining reliable information about political
changes and safety concerns in the countries where they live and from which they report.” Id. at
18. Likewise, more than 1000 Voice of America and grantee workers have been placed on
administrative leave en masse, leaving their careers and lives in limbo, and prohibiting them
from performing their vital jobs in service of the agency’s statutorily mandated mission. See id.
at 16-17.

        Our proposed deadline of April 7, 2025 is 14 days after Plaintiffs’ opening TRO/PI
brief—ample time for Defendants to respond. Briefing on the motion should be completed on
the schedule proposed by Plaintiffs so the Court can be best equipped to promptly consider the
parties’ arguments and rule on Plaintiffs’ PI motion.

       Defendants’ motion to transfer should be denied. In their letter filed yesterday,
Defendants argue again that this case should be transferred to the District of Columbia due to the
pendency of other cases in that court related to Defendants’ dismantling of USAGM and its
grantees. Defendants’ letter misses the mark for two reasons.

        First, as explained in Plaintiffs’ letter-brief in opposition to Defendants’ motion, this case
involves parties, claims, and legal issues that are not before the District of Columbia court in any
of the pending cases Defendants cite, including the two new cases Defendants highlight in their
new letter: Radio Free Asia v. United States, No. 25 Civ. 907 (D.D.C.) (“RFA”), and Middle East
Broadcasting Networks, Inc. v. United States, No. 25 Civ. 966 (D.D.C.) (“MEBN”). Just like
Open Technology Fund v. Lake, No. 25 Civ. 799 (D.D.C.), and RFE/RL, Inc. v. Lake, 25 Civ.
840 (D.D.C.), see Dkt. 40 at 3-4, the RFA and MEBN cases each only address the issue of
Defendants’ defunding of a USAGM grantee network—just one component of the broader relief
Plaintiffs seek here. And none of the cases pending in D.C. include First Amendment claims by
individual journalists and editors, employee unions, or non-governmental organizations like
Plaintiffs Reporters Sans Frontières and Reporters Without Borders, Inc.

         Second, in their letter yesterday, Defendants neglected to mention that one day earlier, on
April 1, Defendants moved to “stay all proceedings” in one of the cases pending in the District
of Columbia, Abramowitz v. Lake, No. 25 Civ. 887 (D.D.C.), “pending the hearing and
determination of the plaintiffs’ motion for a preliminary injunction” in this case. Abramowitz
Dkt. 17 at 1 (emphasis added). In other words, Defendants seek to transfer this case to D.C. due
to cases pending in that court, and meanwhile seek to stay all proceedings in a case in D.C. due
to this case pending in this Court. Defendants are not only trying to have their cake and eat it
too—they are simultaneously manipulating two courts in service of their goal of unlawfully
dismantling USAGM. Moreover, the Abramowitz court has not made any rulings in that case,
which was filed after this one (the Abramowitz plaintiffs rescinded their TRO request in light of
this Court’s TRO). See Abramowitz Dkt. 15.
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       For the reasons provided above and those laid out in Plaintiffs’ opposition letter-brief,
Dkt. 40, Defendants have not overcome their burden of demonstrating that Plaintiffs’ choice of
forum should not be honored; their motion to transfer should be denied.

       We thank the Court for its consideration of this submission.


                                                     Respectfully submitted,

                                                               /s/
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